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                                                                     United States District Court
                                                                       Southern District of Texas

                                                                            ENTERED
                    IN THE UNITED STATES DISTRICT COURT                   February 09, 2023
                    FOR THE SOUTHERN DISTRICT OF TEXAS                    Nathan Ochsner, Clerk
                             HOUSTON DIVISION


MICHAEL BOURNE, TDCJ #1567258,          §
                                        §
                    Plaintiff,          §
                                        §
v.                                      §
                                        §
LIEUTENANT MICHAEL GUNNELS;     §               CIVIL ACTION NO. H-16-0515
SGT. ANTHONY HOWARD, JR.; OFCR. §
ROLAND WEAVER; OFCR. ROBERT     §
LEBLANC; OFCR. ERNEST PRICE;    §
and OFCR. TAJUDEEN AJISEFINI,   §
                                        §
                    Defendants.         §

                        MEMORANDUM OPINION AND ORDER
                        DENYING MOTION FOR NEW TRIAL


        The plaintiff,     Michael Bourne,     filed this prisoner civil
rights action against several correctional officers employed by the
Texas Department of Criminal Justice                ( "TDCJ") ,   alleging that
excessive force was used against him during a cell extraction at
the Estelle High Security Unit.              On August 24,        2022,      a jury
returned a verdict in favor of the defendants:              Lieutenant Michael
Gunnels,     Sergeant Anthony Howard,        Jr.,    Officer Roland Weaver,
Officer Robert LeBlanc, Officer Ernest Price, and Officer Tajudeen
Ajisefini.      See Verdict, Docket Entry No. 171, p. 1.             Consistent
with the jury's verdict the court entered a judgment dismissing
this case with prejudice.             See Final Judgment,         Docket Entry
No. 174, p. 1.
        Now pending is Plaintiff's Motion for New Trial With Exhibits
and Declaration in Support of Motion ( "Motion for New Trial") ,
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Docket Entry No.     176.    The defendants have filed Defendants'
Response   in   Opposition   to    Plaintiff's Motion     for   New   Trial
("Defendants' Response"), Docket Entry No. 179; and Bourne has
filed Plaintiff's Reply to Defendants' Response in Opposition to
Plaintiff's Motion for New Trial           ("Plaintiff's Reply"), Docket
Entry No. 180.    After careful consideration of the entire record
and the court's clear recollection of the trial, the Motion for New
Trial will be denied for the reasons explained below.


                             I.    BACKGROUND

     The facts underlying the claims in this case, which stem from
an incident that occurred at the Estelle High Security Unit on
November 21, 2014, have been set forth previously. 1        The following
summary is based on the           evidence   presented at trial,      which
commenced on August 22, 2022, and finished with a jury verdict on
August 24, 2022, 2 and which featured testimony from the plaintiff,
two inmate witnesses, each of the defendants, and former defendant
Major Carlos Applewhite. 3



          Memorandum Opinion and Order ("MO&O"), Docket Entry
No. 61, pp. 2-11; Opinion, Docket Entry No. 75, pp. 2-4.        For
purposes of identification all page numbers refer to the pagination
imprinted by the court's Electronic Case Filing ("ECF") system.
          Courtroom Minutes, Docket Entry No. 159; Courtroom
Minutes, Docket Entry No. 160; and Courtroom Minutes, Docket Entry
No. 161.
     3
      The claims of bystander liability against then-Sergeant
Applewhite were dismissed previously on summary judgment. See
MO&O, Docket Entry No. 61, p. 31.
                                     -2-
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     Lieutenant Gunnels testified that he obtained authorization
under the TDCJ Use of Force Plan to forcibly remove Bourne from his
cell after Bourne jammed his food-tray slot and refused to obey
orders to release it in violation of prison rul�s.             During this
planned use of force,      most of which was captured on video by
Officer Sascha Ford, Lieutenant Gunnels warned Bourne several times
that a chemical agent would be deployed into his cell unless he
complied with orders to release his food-tray slot.            When Bourne
failed to heed those       warnings,     Lieutenant Gunnels sprayed a
quantity of chemical agent into the cell.        A team of five officers
dressed in protective gear and carrying shields (Sergeant Howard,
Officer   Weaver,   Officer LeBlanc,      Officer   Price,    and   Officer
Ajisefini) then entered the darkened cell to subdue Bourne.
     The jury had several opportunities to watch the video, which
featured Bourne refusing to comply with multiple orders and cursing

loudly at the officers while causing a disturbance in the cell
block.    There was a struggle between Bourne and the officers who
entered his cell, which lasted several minutes.           The altercation
could be heard but not seen on the video because the lights were
off in Bourne's cell, and there were two supervisory officials
(Lieutenant Gunnels and Major Applewhite) who were standing in the
doorway shouting instructions.      A few minutes later Bourne emerged
from the cell in restraints and was escorted to the prison
infirmary where he was examined by a nurse.


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        Bourne's examination in the infirmary was also documented on
the use-of-force video.           Bourne reported that his eyes and skin
were burning from the chemical agent.              He sustained bruises and
scratches on his back, chest, and face, which appeared swollen.
Bourne testified that the use of force was unnecessary and that he
was beaten gratuitously by the officers while on the ground in his
darkened cell.        In addition to the injuries documented by the nurse
who examined him following the assault, Bourne testified that he
was treated for a concussion and an eye infection at a local
hospital several days after the incident.           After hearing all of the
evidence, including testimony from two inmate witnesses who were
present on the cell block when the use of force occurred (Patrick
Holzer and David Hickman), the jury found that the defendants did
not apply force maliciously and sadistically for the purpose of
causing harm, rather than as the result of a good-faith effort to
maintain or restore discipline, and that the defendants did not
violate the Eighth Amendment. 4
        Bourne now moves for a new trial under Rule 59 of the Federal
Rules        of   Civil   Procedure,   arguing   that   the   court   erred   by
(1) excluding relevant evidence; and (2) denying his requests for
appointment of counsel. 5         The defendants argue that the Motion for
New Trial must be denied because it is untimely anj without merit. 6


     4
            See Verdict, Docket Entry No. 171, p. 1.
     5
            See Motion for New Trial, Docket Entry No. 176, pp. 1-2.
        6
            See Defendants' Response, Docket Entry No. 179, pp. 2-3.
                                        -4-
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                        II.    STANDARD OF REVIEW

     Motions for new trial are governed by Rule 59 of the Federal

Rules of Civil Procedure. A district court has discretion to grant

a new trial when doing so is necessary to prevent an injustice.

See Seibert v. Jackson County, Mississippi, 851 F.3d 430, 438 (5th

Cir. 2017).     A jury verdict is entitled to great deference.             See

Dresser-Rand Co. v. Virtual Automation Inc., 361 F.3d 831, 838 (5th

Cir. 2004).      "New trials should not be granted on evidentiary

grounds unless, at a minimum, the verdict is against the great

weight of the evidence."      Dawson v. Wal-Mart Stores, Inc., 978 F.2d

205, 208 (5th Cir. 1992).

     Apart from arguments based on evidentiary sufficiency, motions

for new trial are reviewed under the harmless-error standard:

"Unless justice requires otherwise,         no error in admitting or

excluding evidence - or any other error by the court or a party -

is ground for granting a new trial, for setting aside a verdict, or

for vacating,    modifying,    or otherwise disturbing a judgment or

order."   Fed. R. Civ. P. 61.      Thus, in deciding a motion for new

trial, "the court must disregard all errors and defects that do not

affeet any party's substantial rights."       Id.   In other words, to be

entitled to a new trial based on erroneously admitted or excluded

evidence, the party seeking a new trial must show that the trial

court both erred in its decision and that the error adversely

influenced the jury's verdict.       See Munn v. Algee, 924 F.2d 568,

571-73 (5th Cir. 1991).

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                              III.    DISCUSSION

A.     Timeliness

       "A motion for a new trial must be filed no later than 28 days

after the entry of judgment."          Fed. R. Civ. P. 59(b).       "The time

limit for filing a new trial motion imposed i"1 Rule 59(b) is

mandatory and jurisdictional; it cannot be extended by the trial

court."        Tarlton v. Exxon, 688 F. 2d 973,      977 (5th Cir. 1982).

Because the court entered its final judgment in this case on

August 24, 2022, 7 a motion for new trial was due on September 21,

2022. Noting that the Motion for New Trial was not entered on the

court's docket sheet until on September 29, 2022, the defendants

argue that the motion should be denied as untimely. 8

       Although the Motion for New Trial was received by the court on

September 29, 2022, Bourne indicates in the certificate of service

that he submitted the motion to the prison mail system for delivery

on September 14, 2022. 9       Pointing to the certificate of service,

Bourne argues that he placed his copy of the Motion for New Trial

in the prison mail system for delivery to the court along with a

copy to defendants' counsel at the State Attorney General's Office

within the time allowed by Rule 59(b). 10           Bourne correctly notes



       7
           See Final Judgment, Docket Entry No. 174.
       8
           See Defendants' Response, Docket Entry No. 179, p. 3.
       9
           See Motion for New Trial, Docket Entry No. 176, pp. 14-15.
       10
            see Plaintiff's Reply, Docket Entry No. 180, pp. 1-2.
                                      -6-
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that, as a prison inmate, his pleadings are treated as filed on the
date that they are placed in the prison mail system for delivery to
the court, rather than the date they are received.          See Houston v.
Lack, 108 S. Ct. 2379, 2382-83 (1988); see also Spotville v. Cain,
149 F.3d 374, 378 (5th Cir. 1998) (explaining that a prisoner's
pleadings are deemed filed under the prison mailbox rule at the
time his papers are delivered to prison authorities for mailing).
      To resolve the issue of timeliness, the court directed the
defendants to supplement the record with prison records for inmate
legal mail during the relevant time for filing a motion under
Rule 59. 11     In response, the defendants have provided inmate legal
mail records from Bourne's assigned prison facility, which are
summarized      in an   affidavit   from Mail Room Supervisor Debbie
Kelley. 12     According to Kelley, the "Outgoing Legal, Special and
Media Mail Log" records confirm that the Allred Unit mail room
received two items of legal mail from Bourne on September 15, 2022,
for delivery to the court and to defendants' counsel. 13           This is
consistent with the date shown on the certificate of service, which
demonstrates that Bourne executed his Motion for New Trial the


      11   See Order for Inmate Legal Mail Records, Docket Entry No. 181.
      See Affidavit of Debbie Kelley ( "Kelley Affidavit"), Exhibit C
      12

to Defendants' Supplement Pursuant to Court's Order ("Defendants'
Supplement"), Docket Entry No. 182-3.
       See id. at 3; see also Outgoing Legal, Special and Media Mail
      13
Log, Exhibit A to Defendants' Supplement, Docket Entry No. 182-1,
p. 35.
                                     -7-
     Case 4:16-cv-00515 Document 183 Filed on 02/09/23 in TXSD Page 8 of 21



previous day,          September 14,    2022,    and tendered it to prison
officials for delivery to the court before the deadline found in
Rule 59{b) expired. 14         The records show that one item, which was
addressed to this court's chambers, was returned on September 16,
2022,        due to insufficient postage. 15       The correct postage was
applied and the item was delivered to the United States Postal
Service on September 21, 2022. 16           The records do not show that the
lack of sufficient postage was attributable to Bourne or that he
failed to place a properly addressed Motion for New Trial in the
prison mail system before the deadline found in Rule 59(b) expired
on September 21,          2022.    As a result,     the defendants have not
demonstrated that the Motion for New Trial was untimely or that it
is barred from consideration under Rule 59(b).


B.      Evidentiary Rulings

        Bourne moves for a new trial under Rule 59(b) of the Federal
Rules        of   Civil   Procedure,   arguing   that   the   court     erred   by
excluding relevant evidence in the form of (1) disciplinary records
belonging         to   Sergeant   Howard,     Officer   Weaver,   and    Officer
Ajisefini, and Major Applewhite; (2) testimony from the plaintiff
and other inmate witnesses, Patrick Holzer and David Hickman, about


        14
             See Motion for New Trial, Docket Entry No. 176, pp. 14-15.
        15
             See Kelley Affidavit, Docket Entry No. 182-3, p. 4.
          id.; see also Incoming Legal, Special and Media Mail Log,
Exhibit B to Defendants' Supplement, Docket Entry No. 182-2, p. 3.
                                        -8-
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other "prior bad acts" by the defendants; (3) a witness statement
from the TDCJ Use of Force Report from Officer Sascha Ford, who was
unavailable for trial; (4) plaintiff's testimony about the cause of
his injuries; and (5) plaintiff's commissary receipts from the time
of the incident. 17         Each argument is addressed in turn.

        1.      Disciplinary Reports
        Before trial the defendants moved to exclude testimony,
evidence, or reference to any disciplinary action or reprimand
against the officers under Fed. R. Evid. 401, 403, and 404(b) . 18
Bourne contends that the court erred by granting that motion and
excluding disciplinary reports against Sergeant Howard, Officer
Weaver, Officer Ajisefini, and Major Applewhite, which would have
shown        that   these   defendants    had   been   involved   in   previous
misconduct. 19       Bourne argues that the disciplinary reports should
have been admitted as evidence of their bad character under
Rule 404(b) (2) of the Federal Rules of Evidence. 20
     Bourne does not provide copies of the disciplinary reports,
but he provides citations to his disclosures and describes the
misconduct as follows:


     17
          See Motion for New Trial, Docket Entry No. 176, pp. 1-2.
      See Defendants' Motion []
     18
                                          in Limine, Docket Entry No.       96,
pp. 2-3.
     19
          See Motion for New Trial, Docket Entry No. 176, p. 2.
     20
          see id.
                                         -9-
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     1.      A few months before the use of force involving
             Bourne, Officer Weaver assaulted an unidentified
             inmate and tried to cover it up.
     2.      At an unspecified time, Officer Ajisefini "maced a
             prisoner with pepper spray" "because the prisoner
             did something he disliked."
     3.      At an unspecified time, Sergeant Howard and another
             officer were escorting a prisoner in handcuffs .....,ho
                                                                 .
             "accidentally" fell and hurt himself. During that
             same incident one of the officers (Bourne does not
             say which one} "roundhouse kick [ed] another inmate."

     4.      During his career with TDCJ, Major Applewhite has
             reportedly been "written up" for filing "false
             disciplinary cases on inmates,[] making degrading
             remarks toward inmates,[] entering inmates cells to
             fight them, [] and an array of other write ups
             showing his disregard of TDCJ policy." 21
Bourne indicates that these disciplinary reports resulted in only
minor reprimands and that Applewhite was eventually promoted from
Sergeant to "Unit Major" despite being recommended at one time for
dismissal.22     He argues that the reports are proof that Weaver,
Ajisefini, and Howard entered his cell with hostile intent and that
TDCJ routinely tolerates officer misconduct.23
     The      court    excluded   the     reports   as   irrelevant,   unduly
prejudicial, and inadmissible under Rules 403 and 404(b).              Under
Rule 401, evidence is relevant "if: (a) it has any tendency to make
a fact more or less probable than it would be withcut the evidence;
and {b) the fact is of consequence in determinj_ng the a.ction."


     21   Id. at 11-12 (footnotes omitted).
     22
          ra. at 12-13.
     23
          Id. at 13.
                                        -10-
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Fed. R. Evid. 401.                Rule 403 requires the exclusion of relevant
evidence "if its probative value is substantially outweighed by a
danger of . . . unfair prejudice, confusing the issues, misleading
the jury,           undue delay,      wasting time,       or needlessly presenting
cumulative evidence.         11
                                   Fed. R. Evid. 403. Rule 404(b)(1) prohibits
evidence of other crimes, wrongs, or acts "to prove a person 1 s
character in order to show that on a particular occasion the person
acted in accordance with the character.             11
                                                          Under a limited exception
found in Rule 404(b)(2), evidence of other crimes, wrongs, or acts
is admissible to prove              "motive, opportunity, intent, preparation,
plan,        knowledge,     identity,     absence        of   mistake,   or   lack    of
accident.      11    Fed. R. Evid. 404(b)(2).
        Bourne notes that the court cited to three district court

decisions           when   excluding    the   proposed        disciplinary    reports:
(1) Huval v. Louisiana State University Police Dep't, Civil Action
No. 16-00553, 2018 WL 3199460 (M.D. La. June 29, 2018); (2) Herrera
v. Aguilar, Cv. No. SA-10-CV-00569, 2013 WL 5354518 (W.D. Tex.
Sept. 24, 2013); and (3) Graniczny v. City of El Paso, Texas, 809
F. Supp. 2d 597 (W.D. Tex. 2011) . 24             In each of these decisions the
district courts excluded evidence of an officer's disciplinary
history because the prejudicial effect outweighsd its probative
value for purposes of Fed. R. Evid. 403.                         See Graniczny,      809
F. Supp. 2d at 605-606; Huval, Civ. No. 16-00553, 2018 WL 3199460,


        24
             See Motion for New Trial, Docket Entry No. 176, p. 2 n.2.
                                           -11-
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at *3; Herrera, 2013 WL 5354518, at *3 (citing Maddox v. City of
Los Angeles, 792 F.2d 1408, 1417-18 (9th Cir. 1986) and Tanberg v.
Sholtis, 401 F.3d 1151, 1164-65 (10th Cir. 2005)).
       Bourne contends that this court erred by relying on the
district court decisions in Graniczny, Huval, and Herrera because
evidence of the defendants'        bad character is admissible under
Rule 404(b), relying on Lamar v. Steele, 693 F.2d 559 (5th Cir.

1982) . 25     In Lamar the plaintiff was a "writ writer" in the Texas
prison system who sued a correctional officer for denying him
access to the courts.       Id. at 560.    The plaintiff in Lamar alleged
that the officer:       "(l) burned his legal documents, (2) asked one
inmate to assault him, (3) asked another to kill him, (4) invited
him to pick up and attempt to use a small knife while he ([the
defendant]) held a substantial hunting knife in his hand out of
view, and (5) promised to send him home 'in a pine box.'"             Id. at
561.        The Fifth Circuit affirmed the trial court's decision to
admit testimony at trial under Rule 404(b) from another inmate who
stated that on a prior occasion the officer had given him a knife
and asked him to kill another writ writer.         Id. at 561.    The Fifth
Circuit clarified that for character evidence to be admissible

under Rule 404 (b)       "the conduct tendered must be sufficiently
similar to the act under inquiry to minimize any doubt that the two
are products of the same mind."           Id. (citing McCormick, Evidence


       25
            Id. at 2.
                                    -12-
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§   157 (1954)).     Noting that the evidence at issue was probative of
the officer's "desire to purge the prison of writ writing" and
"furnished a reason for the acts of which Lamar complained," the
Fifth Circuit found no abuse of discretion in admitting testimony
of his prior bad act.        Id.
       The defendants argue that the disciplinary reports were
properly excluded because Bourne was seeking to admit them as
evidence that the defendants had a general propensity to engage in
violence and that their actions were in conformity with their
character on prior occasions. 26       Bourne does not establish that the
reports were admissible or that Lamar mandates a different result.
Unlike the decisions in Graniczny, Huvel, and Herrera, the opinion
in Lamar did not involve evidence of previous disciplinary reports
against an officer.         More importantly, unlike the plaintiff in
Lamar, Bourne has not alleged facts showing that the circumstances
outlined in the disciplinary reports bear any similarity to the
actions allegedly taken by the individual defendants during the
planned use of force at issue, which involved the extraction of an
inmate from his cell who was creating a disturbance on the cell
block.        See Lamar, 693 F.2d at 561.       For this reason, Bourne's
reliance on Lamar is unpersuasive.
       The record shows that none of the defendants on trial were
disciplined in connection with the use of force involving Bourne at


       26
            See Defendants' Response, Docket Entry No. 179, p. 5.
                                     -13-
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the Estelle High Security Unit on November 21, 2014. 27 Based on the
facts of this case, Bourne has not shown that the probative value
of the proposed disciplinary reports would have outweighed the
danger of unfair prejudice and confusion. See Fed. R. Civ. P. 403.
Bourne does not otherwise show that it would have been proper to
present evidence of prior disciplinary reports as proof of the
defendants' propensity to engage in violent acts.                    See, e.g.,
Crenshaw v.          Herbert,     409    F. App'x 428,    430 (2d    Cir.   2011)
(affirming the district court's decision to deny a motion to compel
discovery of an officer's disciplinary reports, explaining that
"even        if   evidence   of    a    prior   substantiated   excessive   force
investigation existed, on the facts of the particular case before
us such evidence would be inadmissible to show that [the defendant]
acted violently in this instance") (citing Fed. R. Evid. 404(b))).
Therefore, he does not show that those reports were improperly
excluded or that he is entitled to a new trial on this basis.

        2.        Testimony from Bourne, Patrick Holzer, and David Hickman
        Bourne contends the court erred by sustainins objections from
defendants' counsel to testimony he attempted to give on his own
behalf and testimony that he attempted to elicit from two inmates


      See TDCJ Use of Force Report, Exhibit B to De.fendants' Motion
     27

for Summary Judgment With Brief in Support ("Defendants' MSJ") ,
Docket Entry No. 56-2, pp. 7, 9 (stating that no officers were
disciplined in connection with the use of force on November 21,
2014, but that the camera operator, Officer Ford, was counseled
about keeping the prisoner in full view of the camera at all times
possible)
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(Patrick Holzer and David Hickman), who were present at the Estelle

High Security Unit when the use of force occurred. 29        The testimony
that Bourne attempted to elicit was about other uses of force that
occurred in the prison as proof of the defendants' propensity to
commit violence against inmates. 29        For reasons discussed above in
connection      with   previous   disciplinary   reports    involving       the
defendants, Bourne does not show that the proposed testimony was
admissible under Rule 404(b) or that the court erred by sustaining
objections made by defendants' counsel.

     3.       Officer Ford's Witness Statement
     Officer Ford, who was dismissed as a defendant previously in
this case, 30 was summoned as a witness for the plaintiff, but was
excused from attending trial because his wife was suffering from
Stage III cancer and he was her only caregiver. 31           Bourne argues
that the court improperly excluded evidence in the form of a
witness statement given by Officer Ford, who was responsible for
videotaping the use of force. 32     Bourne points to a statement that
Ford gave during the administrative use-of-force investigation in

which Ford stated that Bourne was "fight [ing]" with the other

     28
          See Motion for New Trial, Docket Entry No. 176, pp. 1-2.
     29
          Id. at 2.
     30
          See MO&O, Docket Entry No. 61, p. 31.
      See Defendants' Advisory to the Court Regarc:.ing Avail�bility
     31

of Plaintiff's Witnesses for Trial, Docket Entry No. 157, pp. 2-3.
     32
          See Motion for New Trial, Docket Entry No. 176, pp. 6 7.
                                    -15-
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correctional officers who entered his cell. 33 Noting that the video
showed that his cell was dark, Bourne argues that the statement
could have implicated the credibility of the other officers whose
testimony mirrored Ford's statement and was therefore excluded
improperly. 34
     The defendants argue that the witness statement from Officer
Ford, as part of the TDCJ Use of Force Report about the incident, 35
was properly excluded as hearsay within hearsay. 36         Hearsay within
hearsay is inadmissible unless each part of the combined statements
conforms with an exception to the rule prohibiting hearsay.              See
Fed. R. Evid 803, 805.      The TDCJ Use of Force Report may have been
admissible under an exception to the hearsay rule as a public
record that sets forth factual findings from a legally authorized
investigation.      See Fed. R. Evid. 803(8)(A) (iii).     However, Bourne
does not show that the witness statement contained in that report
was admissible.     See, e.g., United States v. Dotson, 821 F.2d 1034,
1035 {5th Cir. 1987) {per curiam) {holding that a witness statement
within a police report was inadmissible and should have been
excluded as hearsay within hearsay).



     33
          See id. at 7.
     34   See id.
      See TDCJ Use of Force Report, Exhibit B to Defendants' MSJ,
     35

Docket Entry No. 56-2, pp. 36 37.
     36
          See Defendants' Response, Docket Entry No. 179, pp. 5-6.
                                   -16-
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      Even assuming that the witness statement within the Use of
Force Report was admissible,       Bourne       ls to show how Officer
Ford's observation that Bourne was fighting with the officers who
entered his cell would have been helpful to his case.         Instead, the

statement appears to support the defendants' contention that Bourne
actively resisted the officers who entered his cell and that force
was necessary to restore order.      Under these circumstances, Bourne
does not show that the court erred by excluding Officer Ford's
witness statement or that he was harmed as a result.

     4.    Testimony About Bourne's Injuries
     Bourne contends that the court erred by limiting testimony
that he planned to present about the injuries he sustained during
the use of force. 37     Bourne argues that portions 0f his testimony

were improperly excluded as hearsay evidence when he                "simply
attempted to testify about what the doctors treating him at
Huntsville Memorial Hospital told him his injuries were, and how
they were caused. " 38
     Bourne does not show that testimony about what a doctor told
him was excluded improperly as an out-of-court statement prohibited
by the hearsay rule.          Fed. R. Evid. 801(c).      He also does not
show that he was prejudiced as a result of the ruling.                  The
defendants note that Bourne could have presented his own medical


           Motion for New Trial, Docket Entry No. 176, pp. 7-8.
           at 7.
                                   -17-
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records as evidence of his injury. 39       Even without those records,
Bourne was able to give testimony that described the extent of his
injuries; and the jury had an opportunity to view the use-of-force
video, which showed the physical examination that he received in
the prison infirmary immediately following the incident.            Because
Bourne had an opportunity to present evidence in support of his
Eighth Amendment claim, he fails to show that he is entitled to a
new trial as a result of the court's decision to exclude this
testimony.

       5.      Commissary Receipts
       Bourne notes that he and the          two inmate witnesses who
testified told the jury that Sergeant Howard threw away items of
Bourne's property following the use of force. 40 Because Howard and
Major Applewhite denied that Bourne's property was discarded,
Bourne argues that the court erred by excluding evidence in the
form of commissary receipts,          which Bourne wanted to use for
purposes of impeaching their credibility. 41       Bourne argues further
that    the commissary receipts also would have shown Sergeant
Howard's "hostile motive" and intent to act maliciously during the
use of force. 42



       39
            See Defendants' Response, Docket Entry No. 179, p. 6.
       40
            See Motion for New Trial, Docket Entry No. 176, p. 8.
       41
               at 8-9.
               at 9.
                                     -18-
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       Bourne has provided commissary receipts for a "Pot-Hot," an
alarm clock, a pair of work boots, a lamp, a fan, and other items,
but the receipts only prove that he purchased them at some point
before the use of force occurred. 43        The receipts do not prove that
he remained in possession of this property on November 21, 2014, or
that an officer         discarded   them    following   the use of force.
Therefore, Bourne does not demonstrate that the receipts were
relevant or that the court erred by excluding them.           Because Bourne
and his witnesses were allowed to testify that the items were
thrown away, Bourne has not otherwise shown that he was harmed as
a result of the court's decision to exclude the receipts.                As a
result, Bourne fails to show that any of the evidentiary rulings

were erroneous or that a new trial is required to prevent an
injustice.


c.     Appointment of Counsel

       Bourne argues that the court erred and that he is entitled to
a new trial because he was denied appointment of counsel. 44               The
court denied Bourne's motion for appointment of counsel and his
request to reconsider that decision shortly before trial. 45            There
is no right to court-appointed counsel in civil cases.                     See


      See Commissary Receipts, Exhibit A to Moticn for New Trial,
       43

Docket Entry No. 176-1, pp. 2-6.
       44
            See Motion for New Trial, Docket Entry No. 176, p. 1.
      See Order dated June 3, 2019, Docket Entry No. 82, p. 3;
       45

Order dated August 5, 2022, Docket Entry No. 148, pp. 4-5.
                                     -19-
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Baranowski v. Hart, 486 F.3d 112, 126 (5th Cir. 2007); Ulmer v.
Chancellor, 691 F.2d 209, 212 (5th Cir. 1982). A district court is
not required to locate counsel for an indigent litigant unless a
case presents exceptional circumstances. See Naranjo v. Thompson,
809 F.3d 793, 803 (5th Cir. 2015).             In making that determination,
the Fifth Circuit has identified the following factors that a
district court should consider, including:
        1.         the type and complexity of the case;
        2.         the   [plaintiff] 's  ability    to    present    and
                   investigate his case;
        3.         the presence of evidence which largely consists of
                   conflicting testimony so as to require skill in
                   presentation of evidence and in cross-examination;
                   and
        4.         the likelihood that appointment will benefit the
                   [plaintiff], the court, and the defendants by
                   shortening the trial and assisting in just
                   determination.
Naranjo, 809 F.3d at 799 (quoting Parker v. Carpenter, 978 F.2d
190, 193 (5th Cir. 1992)).
        The record reflects that Bourne has done a skillful job of
representing himself throughout this case.                His pleadings are
articulate and well researched, demonstrating familiarity with the
relevant law and procedures. He argued cogently and capably on his
own behalf during two pretrial conferences and at trial, where the
court        was    impressed   by his   knowledge of the    facts   and his
preparation. He presented his own testimony in an organized manner
and called two other inmates as witnesses.            He raised appropriate
objections and cross-examined the defendants and their witnesses.

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The issue presented in this case was not factually or legally
complex, and there was no indication before or during trial that
Bourne was unable to present his version of the events without
assistance.     He does not indicate with specificity what else
trained counsel could have done if an attorney had been appointed
to represent him during the trial.            Although Bourne presents
evidence showing that he was prescribed a variety of medications
for a schizo-affective disorder, ADHD, bi-polar depression, and
obsessive compulsive disorder, 46 he did not appear to be laboring
under a mental illness or to be incapable of representing himself
at any point during the proceeding.        Therefore, he does not show
that a new trial is warranted for lack of appointed counsel or for
any other reason.

                      IV.   Conclusion and Order

     Accordingly, it is ORDERED that the Plaintiff's Motion for New

Trial (Docket Entry No. 176) is DENIED.

     The Clerk shall provide a copy of this Memorandum Opinion and
Order Denying Motion for New Trial to the parties.

     SIGNED at Houston, Texas, on this 9th day of February, 2023.




                                                SIM LAKE
                                  SENIOR UNITED STATES DISTRICT JUDGE


          EMR Medication Print Pass, Exhibit B tc Motion for New
Trial, Docket Entry No. 176-1, pp. 8-9; see also Plaintiff's
Declaration in Support of Motion for New Trial, Ex�1.ibit C to Motion
for New Trial, Docket Entry No. 176-1, pp. 14-15.
                                   -21-
